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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO


BANK OF AMERICA, N.A., for itself and)
as successor to LASALLE BANK         )
NATIONAL ASSOCIATION,                )
125 S. LaSalle Street. Suite 1025,   )
Chicago, IL 60603                    )
                                     )
                    Plaintiff,       )            Case NO.1: 10 CV 013
                                     )
v.                                         )      JUDGE DLOn
                              )
PRO-ONSITE TECHNOLOGIES, LLC, )
ET. AL.                       )
                              )
               Defendants.    )


                 ORDER GRANTING RECEIVER'S FIRST
                AND FINAL REPORT FOR THE PERIOD OF
             JANUARY 13. 2010 THROUGH FEBRUARY 17. 2010


       THIS MATTER COMING TO BE HEARD on the Receiver's First and Final

Report for the Period of January 13,2010 through February 17, 2010, proper

notice having been given, and this Court being duly advised in the premises:

       IT IS HEREBY ORDERED:

       1.     The Receiver's First and Final Report for the Period of January 13,

2010 through February 17, 2010 is hereby approved as filed;

       2.     The Receiver is hereby discharged and released from any further

responsibility with respect to this matter; and
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      3.    This action is hereby DISMISSED WITHOUT PREJUDICE.

DATED: March2b, 2010




Order prepared by:

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